       Case 2:10-cr-00305-MCE Document 40 Filed 08/16/11 Page 1 of 4


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5    Attorney for Defendant SIAVASH POURSARTIP
6

7                    IN THE UNITED STATES DISTRICT COURT FOR THE
8                             EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                           Case No. 2:10-CR-305 LKK
10                        Plaintiff,                     STIPULATION AND ORDER FOR
                                                         CONTINUANCE OF STATUS
11          v.                                           CONFERENCE
12   SIAVASH POURSARTIP, et. al.
13                         Defendants.                   DATE: N/A
                                                         TIME: N/A
14                                                       Courtroom: Honorable Lawrence K.
                                                         Karlton
15

16
            It is hereby stipulated and agreed by and between the United States of America, on
17
     the one hand, and defendants, Siavash Poursartip, and Sara Shirazi, on the other hand,
18
     through their respective attorneys, that the status conference in the above-entitled matter set
19
     for Tuesday August 16, 2001, shall be continued to Tuesday, November, 1, 2011 at 9:15
20
     a.m.
21
            The parties further stipulate and agree that the time period from the date of this
22
     stipulation up to and including the new status conference date of November 1, 2011, shall be
23
     excluded from computation of the time for commencement of trial under the Speedy Trial
24
     Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 (unusual
25
     or complex case) and T4 (preparation by prosecution and defense counsel).
26
            The parties note that the indictment contains ten counts and a forfeiture allegation,
27
     that the acts alleged in the indictment span from 2004 to 2009, and that the discovery in this
28
                                                   -1-
     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
       Case 2:10-cr-00305-MCE Document 40 Filed 08/16/11 Page 2 of 4


1    matter is quite voluminous. There remains further investigation and research that the

2    defendants have been pursuing and the defendants and their counsel have been working at

3    diligently since before the indictment in this matter.       Over 5200 pages of additional

4    discovery was recently received by defense counsel as well as electronic evidence that needs

5    to be analyzed by a forensic expert before defense counsel can access the files in such

6    material. Based upon these facts, the parties stipulate and agree that it unreasonable to

7    expect adequate preparation for pretrial proceedings and trial itself within the time limits

8    established in § 3161, the case is unusual or complex within the meaning of the Speedy Trial

9    Act, and the requested continuance is necessary to serve the ends of justice and to provide

10   both the prosecution and defense counsel reasonable time necessary for effective

11   preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) and

12   (B)(ii) and (iv). Specifically, each defendant agrees that his or her counsel needs additional

13   time to review the discovery that has been provided, to effectively evaluate the case and to

14   prepare for trial. See id. Additionally, the parties hereby stipulate that this case is unusual

15   and complex such that it is unreasonable to expect adequate preparation for pretrial

16   proceedings or for a potential trial within the time limits established by the Speedy Trial Act.

17          For the above reasons, the defendants, defense counsel and the government stipulate

18   and agree that the interests of justice served by granting this continuance outweigh the best

19   interests of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(ii),

20   [Local Code T2]; 18 U.S.C.§ 3161(h)(7)(B)(iv) [Local Code T4].

21

22
     Dated: August 11, 2011                      BENJAMIN B. WAGNER
23                                               UNITED STATES ATTORNEY

24
                                                 By:/s/Russell L. Carlberg
25                                                     RUSSELL L. CARLBERG
                                                       Assistant U. S. Attorney
26                                                     (per email authorization)

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     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
       Case 2:10-cr-00305-MCE Document 40 Filed 08/16/11 Page 3 of 4


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2    Dated: August 11, 2011                       /s/Christopher H. Wing
                                                     CHRISTOPHER H. WING
3                                                    Attorney for Defendant SARA SHIRAZI
                                                     (per email authorization)
4

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9
     Dated: August 11, 2011
10
                                                  /s/ Richard Pachter_________
11                                                    RICHARD PACHTER
                                                  Attorney for Defendant SIAVASH
12                                                POURSARTIP

13

14                                               ORDER
15

16                 The Court, having received, read and considered the stipulation of the parties,

17   and good cause appearing therein, adopts the stipulation of the parties in its entirety as its

18   order. Based upon the stipulation of the parties, the Court finds that it is unreasonable to

19   expect adequate preparation for pretrial proceedings and trial itself within the time limits

20   established in 18 U.S.C. § 3161 and that the case is unusual and complex within the

21   meaning of the Speedy Trial Act. The Court specifically finds that the interests of justice

22   served by granting this continuance outweigh the best interests of the public and the

23   defendants in a speedy trial. The Court also finds that the requested continuance is

24   necessary to provide both the prosecution and the defense counsel reasonable time necessary

25   for effective preparation, taking into account the exercise of due diligence. It is ordered that

26   the time from the date of the parties’ stipulation to and including November 1, 2011 shall be

27   excluded from computation of time within which the trial of this case must be commenced

28   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (ii) and (iv) and

                                                    -3-
     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
       Case 2:10-cr-00305-MCE Document 40 Filed 08/16/11 Page 4 of 4


1    Local Codes T2 (unusual and complex case) and T4 (preparation by both prosecution and

2    defense counsel.)

3                  It is further ordered that the status conference in the above-entitled matter set

4    for August 16, 2011 shall be continued to November 1, 2011 at 9:15 am.

5                  It is so ordered.

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     Dated: August 15, 2011
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     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
